         Case 2:12-cv-04556-CMR Document 94 Filed 10/25/18 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ADRIAN LUPU                      :
          Plaintiff,             :
                                 :
    v.                           :
                                 :
LOAN CITY, LLC, et al.           :
          Defendants.            :
                                 :                         CIVIL ACTION NO. 12-4556
OCWEN LOAN SERVICING, LLC        :
          Third-Party Plaintiff, :
                                 :
    v.                           :
                                 :
STEWART TITLE GUARANTY COMPANY :
          Third-Party Defendant. :


                                           ORDER

       AND NOW, this 24th day of October 2018, in light of the judgment of the Court of

Appeals, and the mandate having issued, it is hereby ORDERED that no later than November 7,

2018, counsel for Ocwen Loan Servicing, LLC and Stewart Title Guaranty Company shall

confer and submit a joint proposal to the Court as to the most expeditious way to move the case

to resolution. Counsel should include a statement as to whether they wish to have a telephone

conference with the Court.

       It is so ORDERED.

                                            BY THE COURT:

                                            /s/ Cynthia M. Rufe
                                            _____________________
                                            CYNTHIA M. RUFE, J.
